               Case 20-61530-bem                         Doc 81       Filed 10/16/20 Entered 10/16/20 16:47:02                                  Desc Main
                                                                     Document      Page 1 of 32
Fill in this information to identify your case and this filing:



Debtor /              Monica                   Elizabeth                   Joyner
                      net Name                    Middle Name              Last Name
                                                                                                                             1: 21
Debtor 2
(spouse, if filing)   First Name                  Middle Name              Last Name              212 OCT 16
                                                                                                                         1101'1;6
United States Bankruptcy Court for the: Northern District of Georgia                     CI              M.
                                                                                                                 C
                                                                                                                     '

Case number           20-61530
                                                                                                                                                   La Check if this is an
                                                                                                                                                      amended filing

 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                            12/15

 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
 category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
 responsible for supplying correct Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
     U Yes. Where is the property?
                                                                     What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put
                                                                      •   Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                             CreditorslAfho Have Claims Secured by Property.
       1.1.                                                           U  Duplex or multi-unit building
               Street address, if available, or other description
                                                                      LI Condominium or cooperative                          Current value of the      Current value of the
                                                                      U Manufactured or mobile home                          entire property?          portion you own?
                                                                      U Land                                                  $
                                                                      El Investment property
                                                                      U Timeshare                                            Describe the nature of your ownership
               City                            State      ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                      U Other                                                the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      LI Debtor 1 only
               County                                                 L3 Debtor 2 only
                                                                                                                             U Check if this is community property
                                                                      U Debtor 1 and Debtor 2 only
                                                                                                                               (see instructions)
                                                                      LI At least one of the debtors and another
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                     U Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
        1.2.                                                         U Duplex or multi-unit budding
               Street address, if available, or other description
                                                                     U Condominium or cooperative                             Current value of the     Current value of the
                                                                     U Manufactured or mobile home                            entire property?         portion you own?
                                                                     U    Land
                                                                     U Investment properly
                                                                                                                              Describe the nature of your ownership
                                                                     U    Timeshare
                                               State      ZIP Code                                                            interest (such as fee simple, tenancy by
                                                                     LI Other                                                 the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     U Debtor 1 only
               County                                                U Debtor 2 only
                                                                     LI Debtor 1 and Debtor 2 only                            LI Check if this is community property
                                                                     U At least one of the debtors and another                   (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


  Official Form 106NI3                                                Schedule NB: Property                                                                    page 1
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                                                                                   Page 2 ofCase
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    Li Single-family home                             the amount of any secured claims on Schedule 10:
    1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       LI Duplex or multi-unit building
                                                                    U  Condominium    or cooperative                  Current value of the Current value of the
                                                                                                                      entire property?     portion you own?
                                                                    LI Manufactured   or mobile home
                                                                    LI Land
                                                                    13 Investment property
           City                            State     ZIP Code       LI Timeshare                                      Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    LI Other                                          the entireties, or a life estate), If known.
                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    LI Debtor 1 and Debtor 2 only                     LI Check if this is community property
                                                                                                                          (see instructions)
                                                                    U At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                0.00
   you have attached for Part 1. Write that number here.




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   lid No
   Li Yes

    3.1.   Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured daims on Schedule D:
           Model:
                                                                    LI Debtor 1 only                                  Creditors Who Have Claims Secured by Properly.
                                                                    LI Debtor 2 only
           Year                                                                                                       Current value of the       Current value of the
                                                                    LI Debtor 1 and Debtor 2 only                     entire property?           portion you own?
           Approximate mileage:                                     LI At least one of the debtors and another
           Other information:
                                                                    LI Check if this is community property (see
                                                                         instructions)



   If you own or have more than one, describe here:

    3.2.   Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                                   LI Debtor 1 only                                  Creators Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                      Current value of the       Current value of the
                                                                    Li Debtor 1 and Debtor 2 only                     entire property?           portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:
                                                                    LI Check if this is community property (see
                                                                         instructions)




Official Form 106A/B                                                 Schedule NB: Property                                                               page 2
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Debtor 1      Monica                          Elizabeth              Joyner
                                                                 Document                32 number (If known) 20-61530
                                                                               Page 3 of Case
               Fest Name        Middle Name          Last Name




   3.3. Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:                                                LI Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                 U Debtor 2 only
           Year:                                                                                                   Current value of the       Current value of the
                                                                 0 Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                    entire property?           portion you own?
                                                                 LI At least one of the debtors and another
           Other information:
                                                                 LI Check if this is community property (see
                                                                    instructions)


   3.4. Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:                                                LI Debtor 1 only                                  Creditors VVIro Have Claims Secured by Property.
                                                                 LI Debtor 2 only
           Year:                                                                                                   Current value of the       Current value of the
                                                                 U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                    entire property?           portion you own?
                                                                 U At least one of the debtors and another
           Other information:
                                                                 LI Check if this is community property (see
                                                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   id No
   CI Yes

                                                                 Who has an interest in the property? Check one.   Do not deduct secured daims or exemptions. Put
   4.1. Make:
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:                                                U Debtor 1 only                                   CredNors tolfixt Have Claims Secured by Property.
                                                                 U Debtor 2 only
           Year:
                                                                 LI Debtor 1 and Debtor 2 only                     Current value of the       Current value of the
           Other information:                                    13 At least one of the debtors and another        entire property?           portion you own?

                                                                 U Check if this is community property (see
                                                                   instructions)



   If you own or have more than one, list here:

   4.2.    Make:                                                 Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured daims on Schedule D:
           Model:                                                U Debtor 1 only                                   Cream's Who Have Claims Secured by Properly.
                                                                 U Debtor 2 only
           Year:                                                                                                   Current value of the       Current value of the
                                                                 U Debtor 1 and Debtor 2 only
                                                                                                                   entire property?           portion you own?
           Other information:                                    U At least one of the debtors and another


                                                                 U Check if this is community property (see
                                                                   instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                            0.00
   you have attached for Part 2.. Write that number here




Official Form 106A/B                                              Schedule NB: Property                                                               page 3
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               Flrel Name    Middle Name           Lest Name




Part 3:    Describe Your Personal and Household Hems
                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                        portion you own?
                                                                                                                         Do not deduct secured claims
                                                                                                                         or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   U No
   • Yes. Describe           Appliances & Furnishing                                                                                     1,000.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   Li No
   la Yes. Describe          Audio & Videos                                                                                                 500.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   U No
   id Yes. Describe         Books, Pictures, etc.                                                                                           100.00

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf dubs, skis; canoes
                and kayaks; carpentry tools; musical instruments
   id No
   U Yes. Describe


10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ki No
   U Yes. Describe.

11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   GI No
   id Yes. Describe          Clothing                                                                                                       500.00


12 Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   la No
   U Yes. Describe

13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   II No
   U Yes. Describe

14.Any other personal and household Items you did not already list, including any health aids you did not list

   El No
   Li Yes. Give specific
      information.

15.Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                             2,100.00
   for Part S. Write that number here



 Official Form 106NB                                           Schedule A/B: Property                                                  page 4
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Debtor 1      Monica                       Elizabeth              Joyner
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               First Name    Middle Name          Last Name




Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   O No
   U Yes                                                                                                     Cash:



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   LI   No
   O Yes                                                       Institution name:


                             171. Checking account:            Green Dot                                                                                 0.00

                             17.2. Checking account            FSNB                                                                                      0.00

                             17.3. Savings account

                             17.4. Savings account

                             17.5. Certificates of deposit:

                             17.6. Other financial account

                             17.7. Other financial account

                             17.8. Other financial account

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   0    No
   U Yes                     Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   O No                      Name of entity:                                                                 % of ownership:
   U Yes. Give specific                                                                                      0%
     information about
     them
                                                                                                             0%
                                                                                                             0%




 Official Form 106A/B                                         Schedule A/B: Property                                                              page 5
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Debtor 1     Monica                      Elizabeth                 Joyner
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                                                                                        32 number (ffnown) 20-61530
              Flrst Name     Middle Name           Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
   U Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       No
   U Yes. List each
     account separately. Type of account:             Institution name:

                             401(k) or sinter plan:

                             Pension plan:

                             IRA

                             Retirement account

                             Keogh:

                             Additional account

                             Additional account



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   ▪   No
   U Yes                                          Institution name or individual:
                             Electric:

                             Gas:

                             Heating all:

                             Security deposit on rental unit

                             Prepaid rent

                             Telephone:

                             Water

                             Rented furniture:
                                                                                                                                  $
                             Other:



23. Annuities (A contact for a periodic payment of money to you, either for life or for a number of years)

   El No
   U Yes                      Issuer name and description:




 Official Form 106A/B                                          Schedule NB: Property                                                     page 6
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Debtor 1     Monica
              First Name
                                       Elizabeth
                             Middle Name         Lest Name
                                                                 Joyner
                                                             Document                32 number (if mown) 2061530
                                                                           Page 7 of Case                 -



24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(bX1), 529A(b), and 529(b)(1).
   El No
   la Yes                           Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
   El No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   Id No
   U Yes. Give specific
     information about them....                                                                                                          $


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   El No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
   U No
   El Yes. Give specific information            2018 Tax Return still Pending                                  Federal:                          2,797.00
            about them, including whether
            you already filed the returns                                                                      State:
            and the tax years
                                                                                                               Local:


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   El No
   U Yes. Give specific information
                                                                                                              Alimony:
                                                                                                              Maintenance:
                                                                                                              Support
                                                                                                              Divorce settlement
                                                                                                              Property settlement

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   U No
   la Yes. Give specific information            Social Security Disability, & Social Security Insurance                                                 900.00


 Official Form 106A/B                                        Schedule NB: Property                                                                 page 7
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                First Name      Middle NOM,          Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   O No
   LI Yes. Name the insurance company                company name:                                         Beneficiary:                              Surrender or refund value:
             of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   O No
   LI Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   0 No
   U Yes. Desaibe each daim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   O No
   LI Yes. Describe each daim.


35.Any financial assets you did not already list
   RI No
   U Yes. Give specific information

36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here
                                                                                                                                                                      900.00



Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.
   U Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

36. Accounts receivable or commissions you already earned
    O No
    O Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   ia No
   LI Yes. Describe


 Official Form 106/VB                                            Schedule A/B: Property                                                                          page 8
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Debtor 1    Monica                    Elizabeth                 Joyner
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              First Name    Middle Name         Lest Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   kr No
   U Yes. Describe



41. Inventory
   a    No
     U Yes. Describe



42. Interests in partnerships or joint ventures
   Ie No
   L 3 Yes- Describe--      Name of entity:                                                             % of ownership:




                                                                                                                          $


43 Customer lists, mailing lists, or other compilations
   la No
   U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?                                                i
                                                                                                                                                         1
            13 No
            LI Yes. Describe                                                                                                                             I
                                                                                                                              $                          I


44. Any business-related property you did not already list
    tia No
    U Yes. Give specific
        information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                  0.00
    for Part 5. Write that number here                                                                               4


Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   El No. Go to Part 7.
   U Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47. Farm animals
    Examples: Livestock, poultni, farm-raised fish

   lir No
    U Yes

                                                                                                                                                0.00


 Official Form 106A/B                                       Schedule MB: Property                                                      page 9
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              First Name     Middle Name          Lest Name




48.Crops—either growing or harvested
      No
   LI Yes. Give specific
      information

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   El No
   LI Yes



50.Farm and fishing supplies, chemicals, and feed
   la No
   U Yes



51.Any farm- and commercial fishing-related property you did not already list
   10 No
   U Yes. Give specific
     information.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                0.00
   for Part 6. Write that number here



Part 7:     Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   RI No
   U Yes. Give specific
     information.




                                                                                                                                             0.00
54. Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:     List the Totals of Each Part of this Form

                                                                                                                                            0.00
55.Part 1: Total real estate, line 2                                                                                       4     $

                                                                                          0.00
56.Part 2: Total vehicles, line 5

                                                                                   2,100.00
57.Part 3: Total personal and household items, line 15

                                                                                       3,697.00
58.Part 4: Total financial assets, line 36

                                                                                          0.00
59.Part 5: Total business-related property, line 45

                                                                                          0.00
60.Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54                      +$               0.00

                                                                                          0.00 Copy personal property total 4   +$           0.00
62.Total personal property. Add lines 56 through 61.



                                                                                                                                            0.00
63. Total of all property on Schedule NB. Add line 55 + line 62.




 Official Form 106A/B                                          Schedule NB: Property                                                   page 10
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                                                             Document     Page 11 of 32
 Fill in this information to identify your case:


 Debtor 'I             Monica                 Elizabeth               Joyner
                       Rat Memo                Ware Name               Last Name

 Debtor 2
 (Spouse, If filing)   First Name              While Name              Lent Name


 United Slates Bankruptcy Court for the Northern District of Georgia
                                                                                   El
 Case number           20-61530                                                                                                        U   Cheek if this is an
 (If known)
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                         04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each Item of property you claim as exempt you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited In dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:          Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      tei You am claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own

                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule NB

      Brief                                                                                                                 0.C.G.A 44-13-100 (a) (4)
      description:
                                Appliance & Furniture       $1,000.00              El $ 1,000.00
                                                                                   CI 100% affair market value, up to
      Line from
      Schedule NB:              6.1                                                   any applicable statutory limit


      Brief                                                                                                                 0.C.G.A. 44-13-100 (a) (4)
      description:
                                Audio & Video               $500.00                El $ 500.00
                                                                                   CI 100% of fair market value, up to
      Line from
      Schedule NB:                                                                    any applicable statutory limit

      Brief                                                                                                                 0.C.G.A. 44-13-100 (a) (4)
      description:
                                Books. Pictures. etc.       $100.00                   $ 100.00
      Line from                                                                    U 100% of fair market value, up to
      Schedule A/B:             RI                                                   any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment)

            No
      LI Yes. Did you acquire the properly covered by the exemption within 1,215 days before you filed this case?
           ID      No
           LI      Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                         page 1 of_
           Case 20-61530-bem                  Doc 81         Filed 10/16/20 Entered 10/16/20 16:47:02                            Desc Main
Debtor 1      Monica                      Elizabeth         Document
                                                                Joyner   Page 12 ofCase
                                                                                    32number (rifnown) 20-61530
             Rat Name       Middle Name         Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Cunard value of the    Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule NB

     Brief
                                                                                                                       0.C.G.A. 44-13-100 (a) (4)
     description:
                        Clothing                                    500.00        $        500.00
     Line from          11.1                                                   U 100% of fair market value, up to
     Schedule A43:                                                                any applicable statutory limit

     Brief                                                                                                             0.C.G.A. 44-13-100 (a) (6)
     description:       Pre-Paid: Green Dot             $              0.00                   0.00
                                                                               U 100% of fair market value, up to
     Line from
     Schedule A/B:
                        17.1                                                     any applicable statutory limit


     Brief                                                                                                             0.C.G.A. 4413-100 (a) (6)
                        FSNB                                            0.00    Els           0.00
     description:
                                                                               U 100% of fair market value, up to
     Line from
     Schedule A/13:                                                              any applicable statutory limit

     Brief
     description:                                                               Us
                                                                                 100% of fair market value, up to
     Line from
     Sehedule                                                                    any applicable statutory limit

     Brief
     description:                                                              US
     Line from                                                                 LI 100% of fair market value, up to
     Schedule A43:                                                                 any applicable statutory limit


     Brief
     description:
     Line from                                                                 U 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                              Us
                                                                               U 100% of fair market value, up to
     Line from
     Schedule A/13:                                                              any applicable statutory limit

     Brief
     description:
     Line from                                                                 U 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit


     Brief
     description:                                                              U
     Line from                                                                 U 100% of fair market value, up to
     Schedule           —                                                        any applicable statutory limit

     Brief
     description:                                                               US
                                                                               U 100% of fair market value, up to
     Line from
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                               Us
                                                                               U 100% of fair market value, up to
     Line from
     Schedule AM:                                                                any applicable statutory limit


     Brief
     description:                                                                $
                                                                               U 100% of fair market value, up to
     Line from
     Schedule A/13:                                                              any applicable statutory limit


Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                      page   2   of —
                Case 20-61530-bem                       Doc 81       Filed 10/16/20 Entered 10/16/20 16:47:02                                    Desc Main
                                                                    Document     Page 13 of 32
  Fill in this information to identify your case:

  Debtor 1          Monica                       Elizabeth                    Joyner
                      First Name                  Middre Name                 Las( Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name                 Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

   Case number        20-61530
   (If known)                                                                                                                                       U Check if this is an
                                                                                                                                                      amended filing


  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
  additional pages, write your name and case number (if known).


 1. Do any creditors have claims secured by your property?
        U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        U Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims
                                                                                                                          Column A           Column B              Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                     Value of collateral   Unsecured
    for each daim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                   that supports this    portion
    As much as possible, list the daims in alphabetical order according to the creditor's name.          value of collateral.                claim                 If any
  2.1                                                       Describe the property that secures the claim:                            0.00 $               0.00 $            0.00
         Creditors Name


         Number           Street

                                                           As of the date you file, the claim is: Check all that apply.
                                                            U Contingent
                                                            • Unliquidated
         City                        State   ZIP Code       U Disputed
    Who CMOS the debt? Check one.                           Nature of lien. Check all that apply.
    U      Debtor 1onty                                     U An agreement you made (sudi as mortgage or secured
    U      Debtor 2 only                                       car loan)
    U      Debtor 1 and Debtor 2 only                       U Statutory lien (such as tax lien, mechanic's lien)
    U      At least one of the debtors and another          LI Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
    C-.1 Check if this claim relates to a
         community debt
    Date debt was incurred                                  Last 4 digits of account number
I 2.21                                                      Describe the property that secures the claim:
         Creditors Name


         Number           Street

                                                            As of the date you file, the claim is: Check aH that apply.
                                                            U Contingent
                                                            • Unliquidated
         City                        State   ZIP Code
                                                            U Disputed
    Who owes the debt? Check one.                           Nature of lien. Check all that apply.
    U      Debtor 1only                                     U An agreement you made (such as mortgage or secured
    U      Debtor 2 only                                      car loan)
    U      Debtor 1and Debtor 2 only                        U Statutory lien (such as tax lien, mechanic's lien)
    •      At least one of the debtors and another          U Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
    •      Check if this claim relates to a
           community debt
    Date debt was incurred                                  Last 4 digits of account number
         Add the dollar value of your entries in Column A on this page. Write that number here:                           Js             I

   Official Form lORD                                Schedule D: Creditors Who Have Claims Secured by Prooertv                                            Dana 1 of
                Case 20-61530-bem                     Doc 81     Filed 10/16/20 Entered 10/16/20 16:47:02                                       Desc Main
   Fill in this information to identify your case:              Document     Page 14 of 32

   Debtor 1          Monica                    Elizabeth                   Joyner
                      Rat Name                  Mid°Ye Name                 Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name                 Last Name


   United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                    L:1 Check if this is an
   Case number 20- 61530
    (If known)
                                                                                                                                                        amended filing


 Official Form I 06E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
 Be as complete and accurate as possible. Use Partl for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 NB: Property (Official Form 106A/13) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional Imes. write your name and case number (If known).

soffirra
111111111111111
                   List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
      El No. Go to Part 2.
      e Yes.
  2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriotity amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim      Priority       Nonpriority
                                                                                                                                                   amount         amount


Fl       Georgia Department Revenue
         Priority Creditor's Name
                                                                  Last 4 digits of account number                             $           0.00 $         0.00$           0.00

         Accounts Recievable Collection                           When was the debt incurred?
         Number            Street
         1800 Century Blvd NE Ste 9100                            As of the date you file, the claim is: Check all that apply.
         Atlanta              GA 30345                            LI Contingent
         City                          State     ZIP Code
                                                                  • Unliquidated
         Who incurred the debt? Check one.                        U Disputed
         El Debtor 1 only
         U Debtor 2 only                                          Type of PRIORITY unsecured claim:
         U Debtor 1 and Debtor 2 only                             U Domestic support obligations
         LI At least one of the debtors and another
                                                                  el Taxes and certain other debts you owe the government
         U Check if this claim is for a community debt            Ll Claims for death or personal injury while you were
                                                                     Intoxicated
         Is the claim subject to offset?
         El  No                                                   LI Other. Specify Notification
         CI Yes
12.2 1   Olympic Auto Sales, Inc                                  Last 4 digits of account number 0          5    3       8      $ 14,800.00 $14,800.00 $                0.00
         Priority Creditor's Name
                                                                  When was the debt incurred?          10/20/2008
         Number            Street
         4568 Memorial Drive                                      As of the date you file, the claim is: Check all that apply.

         Decatur                         GA                       U Contingent
         City                          Slate     ZIP Code         •  Unliquidated
         Who incurred the debt? Check one.                        El Disputed
         la Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
         U Debtor 2 only
                                                                  LI Domestic support obligations
         LI Debtor 1 and Debtor 2 only
                                                                   Li Taxes and certain other debts you owe the government
         U At least one of the debtors and another
                                                                   U Claims for death or personal injury while you were
         U Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                           If   Other. Specify   Title Lien
         • No
         LI Yes

  flffiniol     nrrn 111AF/F                              Crhachelo FM. erarlitnra %AM" 16111un I Inaoe•emed                                              rvanca 1 rat
            Case 20-61530-bem
              Monica             Doc 81
                            Elizabeth                             Filed 10/16/20 Entered
                                                                     Joyner                10/16/20 16:47:02
                                                                                        Case number it known) 20-61530
                                                                                                                                                Desc Main
Debtor 1
                First Name       Middle Name         Last Name   Document     Page 15 of 32
Part 1:        Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                            Total claim   Priority   Nonpriority
                                                                                                                                                amount     amount


     Credit Acceptance/J.J.Finance                                Last 4 digits of account number
                                                                                                                                  00,750.00 $0,750.00      $           0.00
     Priority Creditor's Name
     P 0 Box 551888                                               When was the debt incurred?          05/20/2007
     Number           Street

                                                                  As of the date you file, the claim is: Check all that apply.

     Detriot                            MI      48255             U Contingent
     City                              State    ZIP Code          • Unliquidated
                                                                  U Disputed
     Who incurred the debt? Check one.
     lEr Debtor 1 only                                            Type of PRIORITY unsecured claim:
     U Debtor 2 only
                                                                  •   Domestic support obligations
     LI Debtor 1 and Debtor 2 only                                U Taxes and certain other debts you owe the government
     LI At least one of the debtors and another                   U Claims for death or personal injury while you were
                                                                      Intoxicated
      U Check If this claim is for a community debt
                                                                  lir Wier. Specify Title Lien vehicle

     Is the claim subject to offset?
        No
      U Yes


      CommonWealth Financial                                      Last 4 digits of account number        4    9    N    1         $   102.00 $
      Priority Creditor's Name
      245 Main Street                                              When was the debt incurred?          08/20/2009
      Number          Street

                                                                   As of the date you file, the claim is: Check all that apply.

      Scranton                          PA      18519              U Contingent
      City                              Stale   ZJP Code           • Unliquidated
                                                                   U Disputed
      Who incurred the debt? Check one.
      Er Debtor 1 only                                             Type of PRIORITY unsecured claim:
      LI Debtor 2 only
                                                                     Domestic support obligations
      LI Debtor 1 and Debtor 2 only                                  Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                     Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                   U Other. Specify account
      Is the claim subject to offset?
      Ef No
      LI Yes

E     Commonwealth Financial                                       Last 4 digits of account number       7    9 N 1               $ 1,096.00 $
      Priority Creditor's Name
      245 Main Street                                              When was the debt incurred?          10/20/2009
      Number          Street

                                                                   As of the date you file, the claim is: Check all that apply.

      Scranton                          PA      18519                 U Contingent
      City                              State   ZIP Code              • Unliquidated
                                                                      U Disputed
      Who Incurred the debt? Check one.
      eir Debtor 1 only                                            Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                      U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                      LI Taxes and certain other debts you owe the government
      U Al least one of the debtors and another
                                                                      U Claims for death or personal injury while you were
                                                                         intoxicated
      U Check if this claim is for a community debt
                                                                      U Other. Specify Collection Attorney Maroon E

      Is the claim subject to offset?
      Er No
      LI Yes

       In,     1f1AF/P                                 Cnhorb.lca F/Ir• Prorlifnra lAihn Wows I Inannisnari                                                    noncb    'If
Debtor 1
               Case 20-61530-bem
                 Monica             Doc 81
                               Elizabeth                            Filed 10/16/20 Entered
                                                                       Joyner                10/16/20 16:47:02
                                                                                          Case number yrknown) 20-61530
                                                                                                                                                       Desc Main
                  First Name         Middle Name      Last Name    Document     Page 16 of 32
 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each daim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim

ri     Carter-Young
       Nonprionly Creditor's Name
                                                                                         Last 4 digits of account number I       . 7      9    1
                                                                                                                                                                              99.00
                                                                                         When was the debt incurred?
       882 N. Main St
       Number          Street

       Conyers                                      GA               30012
       City                                         State           ZIP Code             As of the date you tile, the claim is: Check all that apply.

                                                                                         LI Contingent
       Who incurred the debt? Check one.                                                 •  Unliquidated
       El Debtor 1 only                                                                  LI Disputed
       U Debtor 2 only
       LiDebtor 1 and Debtor 2 only                                                      Type of NONPRIORITY unsecured claim:
       U Al least one of the debtors and another                                         U Student loans
                                                                                         U Obligations arising out of a separation agreement or divorce
       U Check if this claim is for a community debt
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                   • Debts to pension or profit-sharing plans, and other similar debts
       idNo                                                                              a Other. Specify Medical Bill
       U Yes


F      Carter-Young
       Nonpriority Cieditor's Name
                                                                                         Last 4 digits of account number
                                                                                         When was the debt incurred?
                                                                                                                                6 4 6 0
                                                                                                                               06/20/2007
                                                                                                                                                                              66.00


       882 N. Main St
       Number           Street
                                                    GA               30012               As of the date you file, the claim is: Check all that apply.
       Conyers
       C,ity                                        State           ZIP Code
                                                                                         U Contingent
       Who incurred the debt? Check one.                                                 • Unliquidated
                                                                                         U Disputed
       id Debtor 1 only
       U Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only
       CI At least one of the debtors and another                                        •  Student loans
                                                                                         U Obligations arising out of a separation agreement or divorce
        U Check if this claim Is for a community debt                                       that you did not report as priority claims
       Is the claim subject to offset?                                                   LI Debts to pension or profti-sharing plans, and other similar debts
                                                                                         Er Other. Specify Medical
       El No
       U Yes

4.3
       Carter-Young                                                                      Last 4 digits of account number         8    4    7       6                      408.00
       Nonpriority Creditor's Name
                                                                                         When was the debt incurred?
       882 N. Main St.
       Number           Street
        Conyers                                     GA               30012
                                                                                         As of the date you file, the claim is: Check all that apply.
       City                                         State           ZIP Code
                                                                                         13   Contingent
       Who incurred the debt? Check one.
                                                                                         13   Unliquidated
        lid Debtor 1 only                                                                •    Disputed
        CI Debtor 2 only
        U Debtor 1 and Debtor 2 only                                                     Type of NONPRIORITY unsecured claim:
        U At least one of the debtors and another
                                                                                         CI Student loans
        U Check if this claim is for a community debt                                    13 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
        Is the claim subject to offset?
                                                                                         U Debts to pension or profit-sharing plans, and other similar debts
        id No                                                                            Er Other. Specify    Account
        U Yes



        Fnrrn 1r1RP/F                                       Cr•Siorlonlet Vir• Preirlitnrc VtSk, 1.10,ta Ilneoniortarl Malmo                                         nano       nf
           Case 20-61530-bem
             Monica             Doc 81
                           Elizabeth                             Filed 10/16/20 Entered
                                                                     Joyner                10/16/20 16:47:02
                                                                                        Case number Of known) 20-61530
                                                                                                                                              Desc Main
Debtor 1
               First Name           Middle Name     Last Name   Document     Page 17 of 32

Part 2:      Your NOMPR1OR1TY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



                                                                                        Last 4 digits of account number 0         5     3    8                $      500.00
     AT & T
     Nonpitority Creditor's Name
                                                                                        When was the debt incurred?
     P0 Box 105503
     Number          Street
                                                                                        As of the date you file, the claim is: Check all that apply.
     Atlanta                                      GA              30348
     City                                         State          ZIP Code               U Contingent
                                                                                        • UnlIquidated
     Who incurred the debt? Check one.                                                  U Disputed
       Debtor 1 only
     U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
     U Debtor 1and Debtor 2 only                                                        U Student loans
     0 At least one of the debtors and another                                          U Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
     U Check If this claim is for a community debt
                                                                                        U Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                    El Other. Specify ACCOUNT
     U No
     Dyes



                                                                                        Last 4 digits of account number                                       $ 3,000.00
      Internal Revenue Service
     Nonpriority creditor's Name
                                                                                        When was the debt incurred?
      401 W. Peachtree St. Stop 334 D
     Number          Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Atlanta                                     GA              30308
      City                                        State          ZIP Code               U Contingent
                                                                                        • Unliquidated
      Who incurred the debt? Check one.                                                 U Disputed
      lief Debtor 1only
      U Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      U Debtor', and Debtor 2 only                                                      U Student loans
      0 At least one of the debtors and another                                         U Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                        U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   Et Other. Specify    Unsecured Taxes
      lit No
      U Yes

                                                                                                                                                                         0.00
                                                                                        Last 4 digits of account number
      Internal Revenue Service
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?         01/01/2017
      401 W. Peachtree St. Stop 3340
      Number         Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Atlanta                                      GA             30308
      City                                        Slate          ZIP Code               U Contingent
                                                                                        • Unliquidated
      Who incurred the debt? Check one.                                                 U Disputed
      Id Debtor 1only
      U Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      U Debtor 1and Debtor 2 only                                                       U Student loans
      U At least one of the debtors and another                                         • Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority daims
      U Check if this claim is for a community debt
                                                                                        U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    kr Other. Specify   Unsecured Taxes
      id No
      U Yes




       Fnrrn inariP                                                  FIE• ftrorliirsrat Whet ilsittet I Inoornrorl Malmo                                          nano   of
       Case 20-61530-bem                              Doc 81           Filed 10/16/20 Entered 10/16/20 16:47:02                                          Desc Main
                                                                      Document     Page 18 of 32
Debtor 1                                                                                                          Case number of known)
                   First Name      Middle Name            Last Name


Part 1:            Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                    Total claim   Priority   Nonpriority
                                                                                                                                                        amount     amount


7                           ,...
                                           u i 4_4               f,i 1--Ail  di Sii   - rie e 1 ,-,i
                                                                      ast 4 digit of account number y                    / K
                                                                                                                    ---— —
                                                                                                                                          $ 5)S70C $ c9S70.1 $       Q„06
     Priori Creditor's    Name                        i
     Num er
                    icStreetmon 1 LI                                   When was the debt incurred?

                                                                       As of the date you file, the claim is: Check all that apply.


     City
             /01-erk,                    State
                                                 ;   93Z:cif'
                                                     ZIP Code
                                                                       U
                                                                       •
                                                                               Contingent
                                                                               Unliquidated
                                                                       U       Disputed
     Who Incurred the debt? Check one.
    .,_Debtor 1 only                                                   Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                       U       Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                      1„.14i Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                       U Claims for death or personal injury while you were
                                                                             intoxicated
      U Check if this claim Is for a community debt
                                                                               Other. Specify

      Is the claim subject to offset?
     SiLlgo
      U Yes


                                                                       Last 4 digits of account number
      Priority Creditor's Name
                                                                       When was the debt incurred?
      Number             Street
                                                                       As of the date you file, the claim is: Check all that apply.

                                                                       U       Contingent
      City                                State      ZIP Code          U       Unliquidated
                                                                       U       Disputed
      Who incurred the debt? Check one.
     AZE Debtor 1 only                                                 Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                       U       Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                       U       Taxes and certain other debts you owe the government
      U      At least one of the debtors and another
                                                                       U       Claims for death or personal injury while you were
                                                                               intoxicated
      U Check if this claim is for a community debt
                                                                           U   Other. Specify

      Is the claim subject to offset?
      U No
      U      Yes


                                                                       Last 4 digits of account number
      Priority Creditors Name

                                                                       When was the debt incurred?
      Number             Street
                                                                       As of the date you file, the claim is: Check all that apply.

                                                                           U   Contingent
      City                                State      ZIP Code              U   Unliquidated
                                                                           U   Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                                      Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                           U   Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                           U   Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                           U   Claims for death or personal injury while you were
                                                                               intoxicated
      U Check if this claim is for a community debt
                                                                           U   Other. Specify

      Is the claim subject to offset?
      U No
      U Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page    of
             Case 20-61530-bem
               Monica             Doc 81
                             Elizabeth                            Filed 10/16/20 Entered
                                                                     Joyner                10/16/20 16:47:02
                                                                                        Case number
                                                                                                                                        Desc Main
Debtor 1
                First Name     Middle Name           Lest Name   Document     Page 19 of 32
 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Commonwealth Financial                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      245 Main Street                                                         Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                 id   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                              Last 4 digits of account number
      Scranton                               PA            18519
      City                                   State               ZIP Code

      FSNB                                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                              Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                Er Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number 0          5   3    8
      City                                   State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                              Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                U Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                              Last 4 digits of account number
      City                                   State               ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                              Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number
      City                                   State               ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                              Line         of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number
                                             State               ZIP Code ,

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                              Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                U Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number
      City                                   State               ZIP Code


                                                                               On which entry in Pad 1 or Part 2 did you list the original creditor?
      Name

                                                                               Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                            LI Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

      City                                   State               ZIP Code
                                                                               Last 4 digits of account number


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           Case 20-61530-bem
             Monica             Doc 81
                           Elizabeth                           Filed 10/16/20 Entered
                                                                  Joyner                10/16/20 16:47:02 Desc Main
                                                                                     Case number QI known) 20-61530
Debtor 1
               First Name     Middle Name         Last Name   Document     Page 20 of 32

Part 4:     Add the Amounts for Each Type of Unsecured Claim



6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                            Total claim


                6a. Domestic support obligations                                     6a.                        0.00
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                       6b.                        0.00

                 6c. Claims for death or personal injury while you were
                     intoxicated                                                     6c.                        0.00

                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                         6d.                        0.00



                 6e. Total. Add lines 6a through 6d.                                 6e.
                                                                                                                0.00



                                                                                             Total claim


             6f. Student loans                                                       6L                         0.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims
                                                                                                                 0.00
                                                                                     69-      $
                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                                   6h.                        0.00


                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                         61.   + $              35,014.00



                 6j. Total. Add lines 6f through 61.                                 6j.
                                                                                                            35,014.00




               inAmr                                   CnIterlella P/O. rnarlifnrc Whn Wove I Inecannnarl                              norm   nf
               Case 20-61530-bem                 Doc 81       Filed 10/16/20 Entered 10/16/20 16:47:02                              Desc Main
                                                             Document     Page 21 of 32
 Fill in this information to identify your case:


 Debtor           Monica                   Elizabeth                   Joyner
                    First Name             Middle Name                 Lest Name

 Debtor 2
 (Spouse If filing) First Name             Middle Name                 Last Name


 United States Bankruptcy Cowl for the: Northern District of Georgia               El
 Case number        20-61530
  (If known)                                                                                                                          CZI Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 1. Do you have any executory contracts or unexpired leases?
    Gif No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
    C3 Yes. Fill In all of the Information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106M3).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the Instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1
      Name

      Number            Street


      City                             State      ZIP Code

2.2
      Name

      Number            Street

      City                             State      ZIP Code
2.3
      Name

      Number            Street

      City                             State      BP Code

2.4
      Name

      Number            Street

      City                             State      ZIP Code

2.5
       Name

      Number            Street

      City                             State      ZIP Code


          Form    inAp.                        Rohe:Aida (4. Fvarotrtrir ronfrarfa and I Incornirtari I CrsAC                               nano 1 of
              Case 20-61530-bem                        Doc 81          Filed 10/16/20 Entered 10/16/20 16:47:02                             Desc Main
                                                                      Document     Page 22 of 32       20-61530
 Debtor 1      Monica                         Elizabeth                      Joyner                        Case number Of known)
                First Name     Middle Name                Last Name




                Additional Page If You Have More Contracts or Leases
111111
       Person or company with whom you have the contract or lease                                       What the contract or lease is for


  22
       Name


       Number         Street


       City                                  Slate       ZIP Code

  2,

       Name


       Number         Street


       City                                  Slate       ZIP Code


  2,

       Name


       Number         Street


       City                                  Slate       ZIP Code


  2,

       Name


       Number         Street


       City                                  State       ZIP Code


  2,

       Name


       Number         Street


       City                                  State       ZIP Code


  2,

       Name


       Number         Street


       City                                  Slate       ZIP Code


  2,

       Name


       Number         Street


       City                                  State       ZIP Code


  2.

       Name


       Number         Street


       City                                  Slate       ZIP Code



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             Case 20-61530-bem                           Doc 81             Filed 10/16/20 Entered 10/16/20 16:47:02                               Desc Main
                                                                           Document     Page 23 of 32
 Fill in this information to identify your case:


 Debtor 'I         Monica                            Elizabeth                   Joyner
                    First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         20-61530
 (If known)
                                                                                                                                                       D Check if this is an
                                                                                                                                                          amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries In the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      El No
      ra Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana. Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      EI No. Go to line 3.
      U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             CI No
             U Yes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.



                  Name of your spouse, fanner spouse, or legal equivalent



                  Number            Street



                  City                                             State                        ZIP Code


 3. In Column 1, list all of your codebtom. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E1F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                                     Check all schedules that apply:

3.1
                                                                                                                     1=1 Schedule D, line
         Name
                                                                                                                      U Schedule E/F, line
         Number            Street                                                                                     CI Schedule G, line

         City                                                         State                      ZIP Cade

3.2
                                                                                                                      LI Schedule D, line
         Name
                                                                                                                      LI Schedule E/F, line
         Number            Street                                                                                     U Schedule G. line

         City                                                         State                      ZIP Code

3.3
                                                                                                                      U Schedule D, line
         Name
                                                                                                                      U Schedule E/F, line
         Number            Street                                                                                     U Schedule G, line

         City                                                         State                      ZIP Code



         rnrrn                                                                Arlie:Aida     Vnser enrlithfrira                                             nnno I nf
             Case 20-61530-bem                    Doc 81           Filed 10/16/20 Entered 10/16/20 16:47:02                       Desc Main
               Monica                         Elizabeth
                                                                  Document
                                                                      Joyner   Page 24 of 32       20-61530
Debtor 1                                                                                         Case number
                First Name      Middle Name         Last Name



               Additional Page to List More Codebtors

     Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                      Check all schedules that apply:
3,

                                                                                                          Schedule D, line
      Name
                                                                                                      U Schedule E/F, line

      Number          Street                                                                              Schedule G, line


      City                                                Stale                   ZIP Code

3.
                                                                                                      U Schedule D, line
      Name
                                                                                                          Schedule E/F, line

      Number           Street                                                                          U Schedule G, line


      City                                                State                   ZIP Code

3,
                                                                                                          Schedule D, line
      Name
                                                                                                          Schedule E/F, line

      Number           Street                                                                          U Schedule G, line


      City                                                Stale                   ZIP Code

3„
                                                                                                       CI Schedule D, line
      Name
                                                                                                          Schedule E/F, line

      Number           Street                                                                          U Schedule G, line


      City                                                Slate                   ZIP Code
3,
                                                                                                       U Schedule D, line
      Name
                                                                                                       U Schedule E/F, line

      Number           Sheet                                                                           U Schedule G, line


                                                          State                   ZIP Code

3,
                                                                                                       U Schedule D, line
       Name
                                                                                                       U Schedule E/F, line

       Number          Street                                                                          U Schedule G, line


       City                                               State                   ZIP Code

3.
                                                                                                          Schedule D, line
       Name
                                                                                                          Schedule E/F, line

       Number          Street                                                                             Schedule G, line


       City                                               State                   ZIP Code
Li
                                                                                                       U Schedule D. line
       Name
                                                                                                          Schedule E/F, line

       Number          Street                                                                          U Schedule G, line


       City                                               State                   ZIP Code




      Fnrm      na                                                        14• VIMIP enriohtnre                                          none   nf
              Case 20-61530-bem                Doc 81       Filed 10/16/20 Entered 10/16/20 16:47:02                               Desc Main
                                                           Document     Page 25 of 32
 Fill in this information to identify your case:


 Debtor I              Monica              Elizabeth                   Joyner
                       First Name          Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern Dishict of Georgia               o
 Case number 20-61530                                                                                  Check if this is:
 {If known)
                                                                                                       Zi An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
Official Form 1061                                                                                           MM / DO! YYYY

Schedule I: Your Income                                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:               Describe Employment


1. Fill in your employment
    information.                                                             Debtor 1                                  Debtor 2 or non-filing spouse
                                                                                                                                                       _
    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 U Employed                                  Li Employed
    employers.                                                             RI Not employed                             U Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                     Unemployed
    Occupation may include student
    or honiernalcer, if it applies.
                                         Employer's name


                                         Employer's address
                                                                          Number Street                              Number   Street




                                                                          City            State   ZIP Code           City                 State ZIP Code

                                         How long employed there?


  Part 2:              Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1        For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.              2.              0.00

 3. Estimate and list monthly overtime pay.                                                  3. +$           0.00    +$

 4. Calculate gross income. Add line 2+ line 3.                                              4.              0.00



Official Form 1061                                                Schedule I: Your income                                                       page 1
           Case 20-61530-bem                 Doc 81          Filed 10/16/20 Entered 10/16/20 16:47:02                           Desc Main
                                                            Document     Page 26 of 32
Debtor 1      Monica                      Elizabeth             Joyner                     Case number of known) 20-61530
               First Name   Middle Name         Last Name



                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                               nomfilinq spouse

   Copy line 4 here                                                             4   4.    $         0.00

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                               5a.   $         0.00          $
    5b. Mandatory contributions for retirement plans                                5b.   $         0.00          $
    5c. Voluntary contributions for retirement plans                                5c.   $         0.00          $
     5d. Required repayments of retirement fund loans                               5d.   $         0.00          $

     5e. Insurance                                                                  5e.   $         0.00          $
     5f. Domestic support obligations                                               5E    $         0.00          $
                                                                                          $         0.00          $
     5g. Union dues                                                                 59-
                                                                                                                                                             1
     5h. Other deductions. Specify:                                                 5h. +$          0.00       + $                                           1

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.    $         0.00          $


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $         0.00


 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Mach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                           0.00         $
         monthly net income.                                                        8a.
     8b. Interest and dividends                                                     8b.   $          0.00         $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                       0.00         $
         settlement, and property settlement.                                  8c.
     8d. Unemployment compensation                                                  8d.   $          0.00
     8e. Social Security                                                            8e.   $          0.00         $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         specify; SSD1 Benefits                                                    81.    $      800.00

     8g. Pension or retirement income                                               89-   $       173.00

     sh. Other monthly income. Specify: Food Stamps Benefits                        8h. -1-$       93.00

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.    $    1,066.00                        0.00

10.Calculate monthly income. Add line 7 + line 9.                                         $    1,066.00                        0.00             1,066.00
                                                                                                                                         $
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives
    Do not indude any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in   Schedule J.
    Specify: SSDI Benefits                                                                                                         11.   $            0.00

12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                         $      1,066.00
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies              12.
                                                                                                                                         Combined
                                                                                                                                         monthly income
 13.Do you expect an increase or decrease within the year after you file this form?
    id No.
           Yes. Explain:


Official Form 1081                                              Schedule I: Your Income                                                      page 2
                  Case 20-61530-bem                  Doc 81      Filed 10/16/20 Entered 10/16/20 16:47:02                                 Desc Main
                                                                Document     Page 27 of 32
     Fill in this information to identify your case:


     Debtor 1         Monica                   Elizabeth                    Joyner
                        First Name             felttaTo Came                Las( Name                     Check if this is:
     Debtor 2                                                                                             U An amended filing
     (Spouse, if filing) First Name            Middle Name                  Lest Name
                                                                                                          LI A supplement showing postpetition chapter 13
     United States Bankruptcy Court for the: Northern District of Georgia                                    expenses as of the following date:
     Case number        20-61530                                                                              MM / DD / YYYY
     (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                             12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:               Describe Your Household

1.    Is this a joint case?

      Ei No. Go to line 2.
      U Yes. Does Debtor 2 live in a separate household?

                   U No
                   • Yes., Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                        No                                    Dependent's relationship to             Dependent's   Does dependent live
      Do not list Debtor 1 and                U Yes. Fill out this information for      Debtor 1 or Debtor 2                    age           with you?
      Debtor 2.                                 each dependent
                                                                                                                                              0 No
      Do not state the dependents'
                                                                                                                                              U Yes
      names.
                                                                                                                                              U No
                                                                                                                                              LI Yes
                                                                                                                                              CI No
                                                                                                                                              LI Yes
                                                                                                                                              U No
                                                                                                                                              LI Yes
                                                                                                                                              U No
                                                                                                                                              LI Yes

3. Do your expenses include                   El No
   expenses of people other than
   yourself and your dependents?              U Yes

 Part 2:            Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                             Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                 233.00
     any rent for the ground or lot                                                                                       4.

        If not included in line 4:
         4a. Real estate taxes                                                                                            4a.     $                  0.00

         4b. Property, homeowner's, or renter's insurance                                                                 4b.     $                  0.00
         4c. Home maintenance, repair, and upkeep expenses                                                                4c.     $                  0.00
         4d. Homeowner's association or condominium dues                                                                  4d.     $                  0.00

Official Form 100J                                               Schedule J: Your Expenses                                                           page 1
            Case 20-61530-bem                       Doc 81         Filed 10/16/20 Entered 10/16/20 16:47:02                     Desc Main
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Debtor 1       Monica                           Elizabeth              Joyner                  Case number (ftmosvn) 20-61530
                 Feel Name        Middle Name         Lasl Name




                                                                                                                         Your expenses

                                                                                                                                           0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.

 6. Utilities:
    6a. Electricity, heat, natural gas                                                                           6a.                       0.00
    6b. Water, sewer, garbage collection                                                                                                   0.00
    6c. Telephone, cell phone, Internet, satellite, and cable services                                           Sc.                     40.00
    6d. Other. Specify:                                                                                          6d.                      0.00
 7. Food and housekeeping supplies                                                                               7.                      155.00

 8. Childcare and children's education costs                                                                     8.      $                 0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.      $                 4.00
10. Personal care products and services                                                                          10.     $                 5.00
11. Medical and dental expenses                                                                                   11.    $                 5.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                          65.00
    Do not include car payments.                                                                                 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13_                       0.00
14. Charitable contributions and religious donafions                                                             14.                       0.00

15. Insurance.
    Do not indude insurance deducted from your pay or included in lines 4 or 20.

     15a. Life insurance                                                                                          15a.                    83.00
     15b. Health insurance                                                                                        15b.                     0.00
     15c.Vehicle insurance                                                                                        15c.                     0.00
     15d. Other insurance. Specify:                                                                               15d.                     0.00

16. Taxes. Do not indude taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                  16.
                                                                                                                                           0.00
    Specify:

17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                              17a.                     0.00
     17b. Car payments for Vehicle 2                                                                              17b.                     0.00
     17c.Other. Specify:                                                                                          17c.                     0.00
     17d. Other. Specify:                                                                                         17d.   $                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.   $                 0.00

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                       19. $                   0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule k Your Income.
     20a. Mortgages on other property                                                                            20a.                      0.00

     20b.   REIEll estate taxes                                                                                  20b.                      0.00
     20c.Property, homeowner's, or renter's insurance                                                             20c.                     0.00
     20d. Maintenance, repair, and upkeep expenses                                                               20d.                      0.00
     20e. Homeowner's association or condominium dues                                                             20e.                     0.00


Official Form 106J                                                 Schedule J: Your Expenses                                               page 2
            Case 20-61530-bem                 Doc 81          Filed 10/16/20 Entered 10/16/20 16:47:02                      Desc Main
                                                             Document     Page 29 of 32
 Debtor 1      Monica                      Elizabeth              Joyner                   Case number Of knows) 20-61530
                First Name   Middle Name         Last Name




21. Other. Specify:                                                                                          21.   +$               0.00


22. Calculate your monthly expenses.

    22a.Add lines 4 through 21.                                                                             22e.    $             590.00
    22b.Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.                    0.00
    22c.Add line 22a and 22b. The result is your monthly expenses.                                          22a                   590.00


23. Calculate your monthly net income.
                                                                                                                                1,066.00
   23a.     Copy line 12 (your combined monthlyincome) from Schedule I.                                     23a.

   23b.     Copy your monthly expenses from line 22c above.                                                 23b. _ $              590.00

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                                  476.00
        The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   El No.
   Li Yes.        Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                             page 3
            Case 20-61530-bem                   Doc 81      Filed 10/16/20 Entered 10/16/20 16:47:02                              Desc Main
                                                           Document     Page 30 of 32

 Fill in this information to identity your case:


 Debtor 1          Monica                   Elizabeth                   Joyner
                    First Name              We% Name                    Last Name

 Debtor 2
 (Spouse, If filing) Fast Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number 20-61530                                                                                                                ra Check if this is an
                    (If known)                                                                                                          amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


               Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                     0.00
   la. Copy line 55. Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                             12,500.00


    1c. Copy line 63, Total of all property on Schedule A/B                                                                                  12,500.00


Part 2:        Summarize Your Liabilities



                                                                                                                                  Your liabilities
                                                                                                                                 Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Pnyperty (Official Form 1060)
                                                                                                                                                     0.00
   2a. Copy the total you listed in Column A, Amount of daim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                     0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                        35,014.00
                                                                                                                                 +$


                                                                                                        Your total liabilities               35,014.00



Part 3:        Summarize Your Income and Expenses


4. Schedule         Your Income (Official Form 1061)
                                                                                                                                               1,066.00
    Copy your combined monthly income from line 12 of Schedule

5. Schedule J: Your Expenses (Official Form 106.1)
                                                                                                                                                 590.00
   Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                     page 1 of 2
                Case 20-61530-bem                      Doc 81         Filed 10/16/20 Entered 10/16/20 16:47:02                          Desc Main
                                                                     Document     Page 31 of 32
   Debtor 1        Monica                          Elizabeth             Joyner                      Case number (Irknown)   20-61530
                    First NMI        Middle Name         Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records


   6. Are you filing for bankruptcy under Chapters 7,11, or 13?

       U      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       la Yes


   7. What kind of debt do you have?

       El Your debts are primarily consumer debts. Consumer debts are those Incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101(8). All out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            93.00




   9. Copy the following special categories of claims from Part 4, line 6 of         Schedule E/F:


                                                                                                             Total claim


           From Part 4 on       Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)
                                                                                                                                 0.00


       9b. Taxes and certain other debts you owe the government (Copy line 6b.)
                                                                                                                                 0,00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                                 0.00


       9d. Student loans. (Copy line 61)
                                                                                                                                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as                               0.00
           priority daims. (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                $                   0.00


       9g. Total. Add lines 9a through 9f.                                                                                       0.00




Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
               Case 20-61530-bem                 Doc 81       Filed 10/16/20 Entered 10/16/20 16:47:02                                             Desc Main
                                                             Document     Page 32 of 32
Fill in this information to identify your case:


Debtor 1           Monica                 Elizabeth                    Joyner
                    Fest Name             Ware Name                    Last Name

Debtor 2
(Spouse, If filing) first Name            Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number         7n-6151n
(If known)
                                                                                                                                                       Zi Check if this is an
                                                                                                                                                          amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15


  If two Married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?

        tir No
        Li Yes. Name of person                                                                   . Attach Bankruptcy Petition Prepater's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perj       I declare that I have read the summary and schedules filed with this declaration and
       that they are true a       rrect     )     ‘          r N

                                             ,,,,,,
                      d.....))                             ,y x
         Signature of                            ' -                       Signature of Debtor 2


         Date    10/13/2020                                                Date
                 wit DD / YYYY                                                     MM/   DD I   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
